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Law OFFICES

FISCHER & PUTZI, P.A.
SurrE 300, EMpiRE TOWERS
7310 RitcHiz HigHway
Davip W. FIscHER GLEN Burntt, MD 21061 FACSIMILE

Davip P Purzi 410-787-0826 410-787-1853

www. fischerputzilawhrm.com

May 18, 2023

Honorable Amit P. Mehta
U.S. District Court Judge
333 Constitution Ave, NW
Washington, DC 20001

Re: United State vs. Thomas Caldwell
Criminal No.: 22-15 APM

Your Honor:

Please be advised that on bchalf of Mr. Caldwell, the defense may call his wife, Sharon
Caldwell, as a witness at sentencing. No other witnesses will be called.

Yours truly,
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David W. Fischer, Rsg/

DWF /amw
